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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION
 In re:                                           §            Case No. 19-34054
                                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.                §                Chapter 11
                                                  §
        Debtor.                                   §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,               §
                                                  §
                Plaintiff,                        §    Adv. Proc. No. 21-03003-sgj
                                                  §
 vs.                                              §
                                                  §
 JAMES DONDERO, NANCY DONDERO,                    §
 AND THE DUGABOY INVESTMENT TRUST,                §
                                                  §
                Defendants.                       §




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 HIGHLAND CAPITAL MANAGEMENT, L.P.,            §
                                               §
                   Plaintiff,                  §
                                               §      Adv. Proc. No. 21-03004-sgj
 vs.                                           §
                                               §
 HIGHLAND CAPITAL MANAGEMENT                   §
 FUND ADVISORS, L.P.,                          §
                                               §
                   Defendant.                  §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,            §
                                               §
                  Plaintiff,                   §
                                               §      Adv. Proc. No. 21-03005-sgj
 vs.                                           §
                                               §
 NEXPOINT ADVISORS, L.P., JAMES DONDERO,       §
 NANCY DONDERO, AND THE DUGABOY                §
 INVESTMENT TRUST,                             §
                                               §
                  Defendants.                  §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,            §
                                               §
                   Plaintiff,                  §
                                               §      Adv. Proc. No. 21-03006-sgj
 vs.                                           §
                                               §
 HIGHLAND CAPITAL MANAGEMENT                   §
 SERVICES, INC., JAMES DONDERO, NANCY          §
 DONDERO, AND THE DUGABOY INVESTMENT           §
 TRUST,                                        §
                                               §
                   Defendants.                 §
                                               §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,            §
                                               §
                   Plaintiff,                  §
 vs.                                           §      Adv. Proc. No. 21-03007-sgj
                                               §
 HCRE PARTNERS, LLC (n/k/a NexPoint Real       §
 Estate Partners, LLC), JAMES DONDERO,         §
 NANCY DONDERO, AND THE DUGABOY                §
 INVESTMENT TRUST,                             §
                                               §
                   Defendants.                 §
                                               §




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                                         STIPULATION

         This Stipulation is entered into between and among Highland Capital Management, L.P.,

the plaintiff (the “Plaintiff” or “HCMLP”) in the above-referenced adversary proceedings (the

“Adversary Proceedings”), on the one hand, and James Dondero (“Dondero”), Highland Capital

Management Fund Advisors, L.P. (“HCMFA”), NexPoint Advisors, L.P. (“NexPoint”), Highland

Capital Management Services, Inc. (“HCMS”), and HCRE Partners, LLC (n/k/a NexPoint Real

Estate Partners, LLC) (“HCRE” and together with Dondero, HCMFA, NexPoint, and HCMS, the

“Defendants,” and Plaintiff and Defendants together, the “Parties”) on the other hand.

                                           RECITALS

         WHEREAS, on January 22, 2021, Plaintiff commenced the Adversary Proceedings by

filing a Complaint against each Defendant;

         WHEREAS, Defendants later served and filed their respective Answers to the Complaints;

         WHEREAS, Defendants subsequently amended their respective Answers to add or modify

one or more additional defenses;

         WHEREAS, in response, Plaintiff subsequently amended its Complaints to add additional

claims and parties (collectively, the “Amended Complaints”);

         WHEREAS, the parties thereafter engaged in fact and expert discovery in accordance with

the agreed-upon Scheduling Order entered in the Adversary Proceedings;

         WHEREAS, on December 17 and 18, 2021, Plaintiff filed its Motion for Partial Summary

Judgment (as amended on December 20, 2021) (the “Summary Judgment Motion”);

         WHEREAS, on January 20, 2022, Defendants filed their Opposition to Highland Capital

Management, L.P.’s Motion for Partial Summary Judgment (the “Opposition”);

         WHEREAS, on February 7, 2022, Plaintiff filed its Reply in further support of its Summary

Judgment Motion;

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         WHEREAS, on April 20, 2022, the Bankruptcy Court heard oral argument with respect to

Plaintiff’s Summary Judgment Motion;

         WHEREAS, on July 19, 2022 the Bankruptcy Court issued its Report and

Recommendation to the District Court: Court Should Grant Plaintiff's Motion for Partial Summary

Judgment Against All Five Note Makers Defendants (With Respect to all Sixteen Promissory

Notes) in the Above-Referenced Consolidated Note Actions (the “R&R”);

         WHEREAS, the R&R directed Plaintiff to submit a form of Judgment to each Note Maker

Defendant that calculates proper amounts due, as well as costs and attorneys' fees incurred;

         WHEREAS, the R&R stated that the costs and attorneys' fees calculation submitted by

Plaintiff shall be separately filed as a Notice with backup documentation attached;

         WHEREAS, the R&R stated that Defendants shall have 21 days after the filing of such

notice to file an objection to the reasonableness of the attorneys' fees and costs; and

         WHEREAS, the Parties intend to agree on a briefing schedule and related matters for the

above.

                                               STIPULATION

         NOW, THEREFORE, in consideration of the foregoing, the Parties agree and stipulate as

follows:

                  1.            Plaintiff will file a form of judgment (as described in the R&R) (the

“Proposed Judgment”) with Notice by August 5, 2022;


                  2.       Defendants will file any objections to the R&R and/or the Proposed

Judgment (“Defendants' Objections”) by August 23, 2022;


                  3.       Plaintiff will respond to Defendants' Objections on or before September 27,

2022;

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                  4.       The Parties will not engage in any discovery related to the Proposed

Judgment and attorneys' fees and costs requested by Plaintiff; and


                  5.        The Parties will provide the District Court with notice of this stipulation

and the agreed upon briefing schedule.


Dated: July 25, 2022




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CONSENTED AND AGREED TO BY:


/s/Deborah Deitsch-Perez                          /s/ John A. Morris
Deborah Deitsch-Perez                             John A. Morris (pro hac vice)
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                                 CERTIFICATE OF SERVICE

         I certify that on July 25, 2022, a true and correct copy of the foregoing document was

served via the Court’s Electronic Case Filing system to the parties that are registered or otherwise

entitled to receive electronic notices in this adversary proceeding.

                                              /s/ Michael P. Aigen
                                              Michael P. Aigen




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